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APPENDIX IV
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“Thea Thewnas Mare Lave
Center if o Canstian
ase to the ACLU.
They arg fighting fer
out Gastian faith i
the courts, and thee
aco winning.

~Pr, D. James
Kenocdy
Coral Ridge Mapsines

Thamas More Lew Center 24 Frank Lloyd Wright Drive P.O,

42 2004, Thornes More Lave fenten

The Thomas More Law Center Is a not-for-profit pulblle interest law
firm dedicated to the defense ond promotion of the relkgious
freedom ef Christians, time-honored fanmdly values, and the sanctity
of human life, Gur purpose ts bo be the sword and shield for people
of falth, providing legal representation without charge to defend
and protect Christians and thelr religious beliefs in the public
square. We achieve this goal principally thravgh [Itigation, sccking
aut significant tases, consistent with our mission, where our
expertise can be of service to ofhers. We also defend and promote
faith and family through metia and educational efforts, Above all,

_ the lavevers of the Thomas More Center see ba meet the Atghest

moral and ethical standards of our Christian faith and our legat
prefession.

Our ministry was inspired by Une recognition that the issues of the
cultural wer being waged Bcross America, isswes such as abortion,
pomagrabhy, school prayer, and the removal of the Ten
Commandments from municipal and school buildings, aré not belng
decided by elected legislatures, but by the courts.

These court decisions, largely insulated fram the democratic
precess, have been inordinately Wluenced dy legal advocacy
groups such ag the American Civit Liberties Unlan ¢ACLU} which
Seek to systematically subvert the religious aad moral foundations
af gur nation. Recent examples of the federal courts’ plyokal role in
the cultural war are the cages of Stenberg v. Carhart in which the
U.S. Supreme Court held Nebraska's ben of partial birth aborten
unconstitutional, in effect nullifying similar bang in 30 other stabes
and Santa fe imependent Schoo! Olstrict ¥. Doe which prohibited
students fram teading stadium crowds in prayer before high school
football games.

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History

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